                                                                                                                   122013
                                     UNITED STATES DISTRICT COURT                                       (              IRICT COURT
                                          Western District of Texas                                                    4cT OF TEXAS
                                                     SAN ANTONIO DIVISION

UNITED STATES OF AMERICA

                                                                       Case Number       SA-10-CR-713 (1)-XR
                                                                       USM Number        64851-280
JOSE MENDOZA

      Defendant.
                                           JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)


        The defendant, JOSE MENDOZA, was represented by Humberto Saldana, III.

         On motion of the United States, the Court has dismissed the remaining Count(s) of the Indictment as to this defendant.

       The defendant pled guilty to Count(s) One (1) of the Indictment on November 29, 2012. Accordingly, the defendant is
adjudged guilty of such Count(s), involving the following offense(s):


Title & Section           Nature of Offense                                     Offense Ended                     Count (s)

21 USC § 846,             Conspiracy to Distribute and Possess                  August 11, 2010                   One (1)
21 USC § 841(a)(1) &      With Intent to Distribute 5 Kilograms or
21 USC § 841(b)(1)(A)     More of Cocaine


        As pronounced on March 7, 2013, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

        Signed this the      '   day of March, 2013.




                                                                                    XAVIER RODRIGUEZ
                                                                                  United States District Judge
AO 245 B (Rev. 06/05)ON.D.TX.)   -   Imprisonment




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                                                           IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
THIRTY-SEVEN (37) months.

            The Court makes the following recommendation to the Bureau of Prisons:

            (1) That the defendant be placed in a facility as close to San Antonio, Texas, as possible.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons on
September 6, 2013. The United States Pretrial Services shall notify the defendant of the designated institution and time to
surrender.




                                                               RETURN

        I   have executed this Judgment as follows:




        Defendant delivered on                                      to
at                                                                             with a certified copy of this Judgment.


                                                                                     United States Marshal

                                                                                By
                                                                                           Deputy Marshal
AO 245 B (Rev. 06/05)(W.D.TX.) - Supervised Release


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                                                      SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) Years.

        While on supervised release, the defendant shall comply with the mandatory and standard conditions that have been
adopted by this Court.
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                                                      CONDITIONS OF SUPERVISION
Mandatory Conditions:
1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not unlawfully possess a controlled substance.

3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
      15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court)
      for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
      defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
      defendant.

4)    In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
      released within 72 hours of release from custody of the Bureau of Prisons.

5)    If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
      weapon.

6)    The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
      authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

7)    If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
      with the requirements of the Act.

8)    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
      program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or probation officer.

2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4)    The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any
      court order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child
      or of a child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
      convicted of a felony, unless granted permission to do so by the probation officer.

10)   The defendant shall permit a probation officer to visit him or her at any time, at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer.

11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer.
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12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court.

13)   As directed by the probation officer, the defendant shall notify third parties of risks that my be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
      confirm the defendant's compliance with such notification requirement.

14)   If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a
      State or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.

15)   The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
      and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the probation officer
      for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to determine if the
      defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
      any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based upon the defendant's ability to pay.

16)   The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
      the probation officer, based upon the defendant's ability to pay.

17)   The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)   The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development, including but not limited to
      assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
      defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
      report in person to the nearest U.S. Probation Office.

20)    If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
      in accordance with the Schedule of Payments sheet of the judgment.

21)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall provide the probation officer access to any requested financial information.

22)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the
      probation officer, unless the defendant is in compliance with the payment schedule.
 AO 245 B (Rev. 06/05)(W.D.TX.) - CMP

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                                                         CRIMINAL MONETARY PENALTIES! SCHEDULE

           The defendant shalt pay the following total criminal monetary penalties in accordance with the schedule of payments
 set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
 monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
 Bureau of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655 E.
 Cesar E. Chavez Blvd, Room G-65, San Antonio, Texas 78206.

             The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
                                                  Assessment                                       Fine                                          Restitution
   TOTAL:                                         $100.00                                          $0                                            $0

                                                                               Special Assessment

          It is ordered that the defendant shall pay to the United States a special assessment of $100.00.                                                  Payment of this sum
 shall begin immediately.

                                                                                              Fine

             The fine is waived because of the defendant's inability to pay.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the united States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

          The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §3612(t). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters      1   09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
